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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:05CR3032
     v.                              )
                                     )
RICARDO PERALES,                     )       ORDER
SILVANO MICHEL and                   )
JESSICA YVONNE SERVIN,               )
                                     )
     Defendant.


     IT IS ORDERED:

     1. An evidentiary hearing on defendant Michel’s motion to
suppress evidence, filing 39, will be held jointly with the
motions of the co-defendants before the undersigned on May 13,
2005 at 12:00 noon in Courtroom #2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
The hearing is scheduled for a duration of six hours. In the
event counsel believe additional time is or may be necessary,
they should contact my courtroom deputy as soon as practicable.

     2. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     3. The trial of this case, as pertains to ALL defendants,
is continued until further order of the court following
resolution of outstanding motions.

     Dated May 3, 2005

                                    BY THE COURT



                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
